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                                                                                           IN CLERK'S OFFICE
                                                                                       US DISTRICT COURT E.D.N.Y.


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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK                                                        BROOKLYN OFFICE

   In re PAYMENT CARD INTERCHANGE
   FEE AND MERCHANT DISCOUNT                                        No.05-MD-01720(MKB)(JO)
   ANTITRUST LITIGATION



           STATEMENT OF OBJECTIONS OF CLASS MEMBER PUMPELLY OIL
                                           ACOUISITION.LLC


          Pumpelly Oil Acquisition, LLC (hereinafter "Company") accepted Visa and Mastercard
   transaction cards between 2010 and the present date. Company is a member of the Rule 23(b)(3)
   settlement class in this case, and it has not engaged in any other settlement of its claims against
   Visa and/or Mastercard. Company hereby submits its objections to the proposed settlement
   preliminarily approved by the Court in January of this year.

          Company is located at 1890 Swisco Road Sulphur, LA 70665. Company is a petroleum
   marketer engaged in the wholesale and retail sale of branded motor fuels. Since approximately
   2010, it has accepted Visa and Mastercard transaction cards at retail service station and
   convenience store locations. Motor fuels at these locations have been sold under the Conoco,
   Citgo, Valero, and Gulf brands since 2010, and the credit card transactions at each location were
   processed by the applicable branded supplier.

           Company is concerned that the Court will concur in the arguments of Defendants that
   certain major oil company branded suppliers are entitled to file claims against the settlement fund
   for transactions at retail locations where Company accepted the applicable Visa or Mastercard
   transaction cards and paid the interchange fees. Company understands that the Court has indicated
   that class counsel cannot represent both the branded suppliers and branded marketers, like
   Company, because only one of the two groups is entitled to settlement funds attributable to
   Company's retail locations. None of the class representatives were branded marketers, and
   branded marketer interests were not represented when the settlement was negotiated. Nor are they
   adequately represented now by a conflicted class counsel who are incapable of asserting branded
   marketer interests when they conflict with the interests of major oil companies.

           As of now. Company is totally in the dark as to whether, having accepted the cards and
   paid the interchange fees, it is part of the settlement class, whether it is entitled to a full or partial
   recovery,or whether any mechanism is in place to sort all of this out. Nothing in the Class Notice
   states whether Company or its branded supplier(whose fuel Company sells) have a right to recover
   for transactions at these locations. In short. Company is concemed that it is being deprived of its
   legal right to fully participate in the settlement.

          In addition to not knowing what recovery Company may be entitled to as part of the class
   settlement, we do not believe that proper efforts are being made to notify branded marketers, like
   Company,so that they can object to the settlement. Company is aware that a Class Notice has
   gone out but it was not mailed a copy by the Claims Administrator. The names and addresses
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   of branded petroleum marketers,like Company,can be obtained by the Claims Administrator from
   the branded suppliers.

          Branded marketers should be informed now whether a procedural mechanism will be put
   in place to determine whether, and to what extent, branded marketers will participate in the
   settlement, what evidence they need to present, and whether there will be procedural hurdles they
   need to overcome to claim their rights as class members. Unless and until these issues are
   addressed and properly resolved by the Court, Company respectfully objects to the class
   settlement.


                                               Respectfully submitted,

                                               Pumpelly Oil Acquisition, LLC




                                               By: Glenn Pumpelly
                                               Vice President-SE Region
